IN THE UNITERSFALESB BIsrRICT COURT
FOR THE:DISTRICT OF MARYLAND

71 OF

HI -8 BD yg,
UNITED STATES OF AMERICA

*

vs. Case No. 19-2251JMC

DARRYL VARNUM

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ORDER OF TEMPORARY DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT
Upon motion of the United States for Temporary Detention, it is ORDERED that a detention
hearing is set for fred, Te /. 10, ZO/ F (date) at_//93~s., 77 (time) before
| j eth £2 © @.S7]1 2e— , United States Magistrate Judge,
101 West Lombard Street, Baltimore, Maryland 21201 Courtroom 7B .
Pending this hearing, the defendant shall be held in custody by (the United States Marshal)
( ) (Other Custodial Official)

and produced for the hearing.

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July 8. 2019 Stix A~W_,

Date Beth P. Gesner
United States Magistrate Judge

U.S. District Court (4/2000) Criminal Magistrate Forms: Order Temp. Detention
